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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff/Respondent,                 CRIM. CASE NO. 07-cv-20099

v.                                                  PAUL D. BORMAN
                                                    UNITED STATES DISTRICT JUDGE

IMAD SALEH AL-SHOUHATI,

            Defendant/Movant.
_______________________________/

                              ORDER
     ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                     OF APRIL 2, 2014 (Dkt. #236):

       (1) DENYING Defendant’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside or

Correct His Sentence (Dkt. #217);

       (2) DENYING Defendant’s Motion for Leave to Conduct Discovery (Dkt. #216);

       (3) DENYING Defendant’s Motion for Judgment on the Pleadings (Dkt. #222);

       (2) DENYING Defendant a Certificate of Appealability.

SO ORDERED.

                                            s/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: July 9, 2014

                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on July 9, 2014.

                                            s/Deborah Tofil
                                            Case Manager
